

People v O'Sullivan (2025 NY Slip Op 02087)





People v O'Sullivan


2025 NY Slip Op 02087


Decided on April 9, 2025


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 9, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

BETSY BARROS, J.P.
ANGELA G. IANNACCI
LILLIAN WAN
JANICE A. TAYLOR, JJ.


2022-01185
 (Ind. No. 247/20)

[*1]The People of the State of New York, respondent,
vJohn O'Sullivan, appellant.


Patricia Pazner, New York, NY (Sarah B. Cohen of counsel), for appellant.
Melinda Katz, District Attorney, Kew Gardens, NY (Johnnette Traill, Danielle M. O'Boyle, and Kenneth X. L. Markert of counsel), for respondent.



DECISION &amp; ORDER
Appeal by the defendant from so much of a judgment of the Supreme Court, Queens County (Barry Kron, J.), rendered August 18, 2020, as brings up for review 10 amended orders of protection issued on November 15, 2021 (Toni M. Cimino, J.), upon remittitur from this Court for a new determination of the duration of the orders of protection issued at the time of sentencing (see People v O'Sullivan, 198 AD3d 986).
ORDERED that upon the appeal from the judgment, the amended orders of protection are affirmed.
The Supreme Court providently exercised its discretion in setting the duration of the amended orders of protection (see CPL 530.13[4]; People v Topol, 210 AD3d 1019, 1019; People v Patel, 74 AD3d 1098, 1099).
BARROS, J.P., IANNACCI, WAN and TAYLOR, JJ., concur.
ENTER:
Darrell M. Joseph
Clerk of the Court








